                       THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


MICHAEL DAVID SILLS          )
and MARY SILLS,              )
                             )
         Plaintiffs,         )
                             )                         CASE NO. 3:23-cv-00478
v.                           )
                             )                         JUDGE WILLIAM L. CAMPBELL, JR.
                             )                         Magistrate Judge Chip Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.                       )                         JURY TRIAL DEMANDED
                             )
         Defendants.         )

                 MOTION TO WITHDRAW AS COUNSEL OF RECORD

       Pursuant to Local Rule 83.01(g), Olivia R. Arboneaux respectfully moves the Court to be

permitted to withdraw as counsel of record for Defendant Jennifer Lyell. As grounds for this

Motion, Ms. Arboneaux states that she is leaving her employment with the firm of Neal & Harwell,

PLC. Defendant Lyell will continue to be represented by Ronald G Harris, Philip N. Elbert,

Mariam N. Stockton, and Satchel R. Fowler of Neal & Harwell, PLC, such that Ms. Arboneaux’s

withdrawal will not delay trial or other pending matters in the case. Because Defendant Lyell is

still being represented by other attorneys of record from the same law firm, no proof of prior

written notice is required under L.R. 83.01(g).

                                                       Respectfully submitted,
                                                       NEAL & HARWELL, PLC


                                                       By: /s/ Olivia R. Arboneaux.
                                                           Ronald G. Harris, BPR #009054
                                                           Philip N. Elbert, BPR #009430
                                                           Mariam N. Stockton, BPR #029750
                                                           Satchel R. Fowler, BPR #039624
                                                           Olivia R. Arboneaux, BPR #040225



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                                         1201 Demonbreun Street, Suite 1000
                                         Nashville, Tennessee 37203
                                         (615) 244-1713 – Phone
                                         (615) 726-0573 – Fax
                                         rharris@nealharwell.com
                                         pelbert@nealharwell.com
                                         mstockton@nealharwell.com
                                         oarboneaux@nealharwell.com
                                         sfowler@nealharwell.com


                                         Counsel for Defendant Jennifer Lyell




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                                 CERTIFICATE OF SERVICE
        I hereby certify that on this the 24th day of March 2025, the foregoing was served via the
court's electronic filing system on the following counsel of record:

 Gary E. Brewer                                   John R. Jacobson
 BREWER AND TERRY, PC                             Katharine R. Klein
 1702 W. Andrew Johnson Hwy.                      RILEY & JACOBSON, PLC
 P.O. Box 2046                                    1906 West End Ave.
 Morristown, TN 37816                             Nashville, TN 37203
 robin@brewerandterry.com                         jjacobson@rjfirm.com
                                                  kklein@rjfirm.com
 John W. ("Don") Barrett (pro hac vice)
 Katherine Barrett Riley (pro hac vice)           Steven G. Mintz (pro hac vice)
 Sarah Sterling Aldridge (pro hac vice)           Terence W. McCormick (pro hac vice)
 BARRETT LAW GROUP, PA                            Adam Kahan Brody (pro hac vice)
 P.O. Box 927                                     Scott Klein (pro hac vice)
 404 Court Square North                           Alex Otchy (pro hac vice)
 Lexington, MS 39095                              MINTZ & GOLD LLP
 dbarrett@barrettlawgroup.com                     600 Third Avenue, 25th Floor
 kbriley@barrettlawgroup.com                      New York, NY 10016
 saldridge@barrettlawgroup.com                    mintz@mintzandgold.com
                                                  mccormick@mintzandgold.com
 Shannon M. McNulty (pro hac vice)                brody@mintzandgold.com
 Kristofer S. Riddle (pro hac vice)               klein@mintzandgold.com
 CLIFFORD LAW OFFICES, PC                         otchy@mintzandgold.com
 120 N. LaSalle St., 36th Floor
 Chicago, IL 60602                                Counsel for Defendants Guidepost Solutions LLC
 smm@cliffordlaw.com                              and SolutionPoint International, Inc.
 ksr@cliffordlaw.com

 Counsel for Plaintiffs

 L. Gino Marchetti, Jr.                           Alan S. Bean
 TAYLOR, PIGUE, MARCHETTI & BLAIR, PLLC           K. Nicole Poole
 2908 Poston Avenue                               STARNES DAVID FLORIE, LLP
 Nashville, TN 37203                              3000 Meridian Blvd., Suite 350
 gmarchetti@tpmblaw.com                           Franklin, Tennessee 37067-6321
                                                  abean@starneslaw.com
 Matthew C. Pietsch                               npoole@starneslaw.com
 GORDON, REES, SCULLY MANSUKHANI, LLP
 4031 Aspen Grove Drive, Suite 290              Counsel for Defendant Willie McLaurin
 Franklin, TN 37067
 mpietsch@grsm.com
 Counsel for Defendants Southern Baptist
 Convention, Dr. Ed Litton, and Dr. Bart Barber




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James C. Bradshaw III                           Brigid M. Carpenter
WYATT, TARRANT & COMBS, LLP                     Ryan P. Loofbourrow
333 Commerce Street, Suite 1050                 BAKER, DONELSON, BEARMAN, CALDWELL &
Nashville, TN 37201                             BERKOWITZ, PC
jbradshaw@wyattfirm.com                         1600 West End Avenue, Suite 2000 Nashville,
                                                Tennessee 37203
Byron Leet (pro hac vice)                       bcarpenter@bakerdonelson.com
WYATT, TARRANT & COMBS, LLP                     rloofbourrow@bakerdonelson.com
400 West Market Street, Suite 2000
Louisville, KY 40202                          Thomas J. Hurney, Jr. (pro hac vice)
bleet@wyattfirm.com                           Jonathan L. Anderson (pro hac vice)
                                              Gretchen M. Callas (pro hac vice)
Thomas E. Travis (pro hac vice)               JACKSON KELLY PLLC
WYATT, TARRANT & COMBS, LLP                   500 Lee Street East, Suite 1600
250 West Main Street, Suite 1600              Post Office Box 553
Lexington, KY 40507                           Charleston, West Virginia 25322
ttravis@wyattfirm.com                         Telephone: 304-340-1000
                                              Fax: 304-340-1150
Counsel for Defendants The Southern Baptist thurney@jacksonkelly.com
Theological Seminary and Dr. R. Albert Mohler jlanderson@jacksonkelly.com
                                              Gcallas@jacksonkelly.com

                                                Counsel for Defendants The Executive Committee
                                                of the Southern Baptist Convention and Rolland
                                                Slade


                                          /s/ Olivia R. Arboneaux                .




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